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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


          In re:                                                     Chapter 11

          BEAVEX HOLDING CORPORATION, et al.,1                       Case No. 19-10316 (LSS)

                                            Debtors.                 Jointly Administered


                                NOTICE OF AGENDA OF MATTERS SCHEDULED
                                FOR HEARING ON JULY 17, 2019 AT 2:00 P.M. (ET)

          RESOLVED MATTERS

          1.       Debtors’ Motion for Entry of an Order, Pursuant to Section 1121(d) of the Bankruptcy
                   Code, Extending the Exclusive Periods for the Filing of a Chapter 11 Plan and
                   Solicitation of Acceptances Thereof [Docket No. 331, 6/12/19]

                   Related Documents:

                           a)       Certificate of No Objection [Docket No. 362, 6/27/19]

                           b)       Order, Pursuant to Section 1121(d) of the Bankruptcy Code, Extending the
                                    Exclusive Periods for the Filing of a Chapter 11 Plan and Solicitation of
                                    Acceptances Thereof [Docket No. 367, 7/2/19]

                   Objection Deadline: June 26, 2019 at 4:00 p.m. (ET)

                   Objections/Responses Filed: None.

                   Status: An order has been entered. No hearing is necessary.

          2.       Debtors’ Motion for an Order Extending the Deadline by Which to Assume or Reject an
                   Unexpired Lease of Nonresidential Real Property [Docket No. 348, 6/18/19]

                   Related Documents:

                           a)       Certificate of No Objection [Docket No. 371, 7/3/19]

                           b)       Order Extending the Deadline by Which to Assume or Reject an
                                    Unexpired Lease of Nonresidential Real Property [Docket No. 375,
                                    7/8/19]

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            The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: BeavEx
          Holding Corporation (7740); BeavEx Acquisition, Inc. (5497); BeavEx Incorporated (7355); JNJW Enterprises, Inc.
          (4963); and USXP, LLC (2997). The headquarters for the above-captioned Debtors is located at 2120 Powers Ferry
          Road SE, Suite 300, Atlanta, GA 30339.

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                Objection Deadline: July 2, 2019 at 4:00 p.m. (ET)

                Objections/Responses Filed: None.

                Status: An order has been entered. No hearing is necessary.

         3.     Debtors’ Sixth Omnibus Motion for Entry of an Order, Pursuant to Sections 105(a),
                365(a) and 554(a) of the Bankruptcy Code, (I) Authorizing the Debtors’ Rejection of
                Certain Executory Contracts and an Unexpired Lease, Effective as of the Applicable
                Rejection Effective Date, and (II) Granting Related Relief [Docket No. 354, 6/26/19]

                Related Documents:

                       a)     Certificate of No Objection [Docket No. 381, 7/11/19]

                       b)     Order, Pursuant to Sections 105(a), 365(a) and 554(a) of the Bankruptcy
                              Code, (I) Authorizing the Debtors’ Rejection of Certain Executory
                              Contracts and an Unexpired Lease, Effective as of the Applicable
                              Rejection Effective Date, and (II) Granting Related Relief [Docket No.
                              383, 7/12/19]

                Objection Deadline: July 10, 2019 at 4:00 p.m. (ET)

                Objections/Responses Filed: None.

                Status: An order has been entered. No hearing is necessary.

         UNCONTESTED MATTER GOING FORWARD

         4.     Debtors’ Motion for Entry of an Order (I) Converting Their Chapter 11 Cases to Cases
                Under Chapter 7 and (II) Granting Related Relief [Docket No. 355, 6/26/19]

                Objection Deadline: July 10, 2019 at 4:00 p.m. (ET)

                Objections/Responses Filed: None to date.

                Status: This matter is uncontested. The Debtors intend to submit a conversion order
                        under Certification of Counsel following the hearing.

         FEE APPLICATIONS

         5.     Final Fee Applications of the Professionals listed on Exhibit A attached hereto [Various
                Docket Nos.]

                Related Documents:

                       a)     See Exhibit A attached hereto.

                       b)     Certification of Counsel [Docket No. 389, 7/15/19]

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                Initial Objection Deadline: July 11, 2019 at 4:00 p.m. (ET)

                Supplemental Objection Deadline: July 15, 2019 at 11:00 a.m. (ET)

                Objections/Responses Filed: None to date.

                Status: This matter is uncontested. A proposed fee order has been submitted under
                        Certification of Counsel.


         Dated: Wilmington, Delaware         YOUNG CONAWAY STARGATT & TAYLOR, LLP
                July 15, 2019
                                             /s/ Joseph M. Barry
                                             Joseph M. Barry (No. 4221)
                                             Matthew B. Lunn (No. 4119)
                                             Donald J. Bowman, Jr. (No. 4383)
                                             Jordan E. Sazant (No. 6515)
                                             Rodney Square, 1000 North King Street
                                             Wilmington, Delaware 19801
                                             Tel: (302) 571-6600
                                             Fax: (302) 571-1253

                                             Counsel to the Debtors and Debtors in Possession




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                                  EXHIBIT A - INDEX TO FEE APPLICATIONS

          DEBTORS’ PROFESSIONALS

          Young Conaway Stargatt & Taylor, LLP

          1.        Fifth Monthly and Final Application for the Monthly Period June 1, 2019 - June 26, 2019
                    and the Final Period February 18, 2019 - June 26, 2019 [Docket No. 359, 6/27/19]

                    A.     First Monthly Application for the Period February 18, 2019 - February 28, 2019
                           [Docket No. 209, 4/8/19]

                    B.     Certificate of No Objection [Docket No. 254, 4/30/19]

                    C.     Second Monthly Application for the Period March 1, 2019 - March 31, 2019
                           [Docket No. 266, 5/3/19]

                    D.     Certificate of No Objection [Docket No. 314, 5/24/19]

                    E.     Third Monthly Application for the Period April 1, 2019 - April 30, 2019 [Docket
                           No. 329, 6/11/19]

                    F.     Certificate of No Objection [Docket No. 368, 7/3/19]

                    G.     Fourth Monthly Application for the Period May 1, 2019 - May 31, 2019 [Docket
                           No. 333, 6/12/19]

                    H.     Certificate of No Objection [Docket No. 369, 7/3/19]

                    I.     Supplement to Fifth Monthly and Final Application [Docket No. 384, 7/12/19]

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          2.        Consolidated First Monthly and Final Application for the Period February 18, 2019 -
                    June 26, 2019 [Docket No. 360, 6/27/19]

          PKF O’Connor Davies LLP

          3.        Consolidated First Monthly and Final Application for the Period March 6, 2019 - June
                    26, 2019 [Docket No. 361, 6/27/19]




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         COMMITTEE’S PROFESSIONALS

         Brown Rudnick LLP

         4.     Final Application for the Period March 1, 2019 - July 11, 2019 [Docket No. 363, 6/27/19]

                A.     First Monthly Application for the Period March 1, 2019 - March 31, 2019
                       [Docket No. 298, 5/14/19]

                B.     Certificate of No Objection [Docket No. 325, 6/5/19]

                C.     Second Monthly Application for the Period April 1, 2019 - April 30, 2019
                       [Docket No. 313, 5/24/19]

                D.     Certificate of No Objection [Docket No. 340, 6/14/19]

                E.     Third Monthly Application for the Period May 1, 2019 - May 31, 2019 [Docket
                       No. 352, 6/24/19]

                F.     Supplement to Final Application [Docket No. 388, 7/12/19]

         Saul Ewing Arnstein & Lehr LLP

         5.     Fourth Monthly and Final Application for the Period March 1, 2019 - July 11, 2019
                [Docket No. 358, 6/27/19]

                A.     First Monthly Application for the Period March 1, 2019 - March 31, 2019
                       [Docket No. 297, 5/14/19]

                B.     Certificate of No Objection [Docket No. 324, 6/4/19]

                C.     Second Monthly Application for the Period April 1, 2019 - April 30, 2019
                       [Docket No. 312, 5/24/19]

                D.     Certificate of No Objection [Docket No. 341, 6/14/19]

                E.     Third Monthly Application for the Period May 1, 2019 - May 31, 2019 [Docket
                       No. 349, 6/21/19]

                F.     Certificate of No Objection [Docket No. 387, 7/12/19]

                G.     Supplement to Fourth Monthly and Final Application [Docket No. 385, 7/12/19]




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         Dundon Advisers, LLC

         6.     Final Application for the Period March 1, 2019 - July 12, 2019 [Docket No. 365, 6/27/19]

                A.     First Monthly Application for the Period March 1, 2019 - March 31, 2019
                       [Docket No. 268, 5/6/19]

                B.     Certificate of No Objection [Docket No. 319, 5/30/19]

                C.     Second Monthly Application for the Period April 1, 2019 - April 30, 2019
                       [Docket No. 310, 5/24/19]

                D.     Certificate of No Objection [Docket No. 342, 6/14/19]

                E.     Third Monthly Application for the Period May 1, 2019 - May 31, 2019 [Docket
                       No. 353, 6/25/19]

                F.     Supplement to Final Application [Docket No. 386, 7/12/19]




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